        Case: 3:20-cv-00107-jdp Document #: 10 Filed: 04/13/20 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


AMY CHILDERS, BARRY EARLS,                        Case No. 20 CV 107
THOMAS FETSCH, CODY ITALIA,
DAVID KIEL, NAZAR MANSOOR,
DEBBIE RIDER, TRENT SHORES,
STEVE SCHUSSLER, CASSIE LIETAERT,
RYAN INGALLS, CHRIS JESSIE and
KAREN FLECKENSTEIN, individually
and, on behalf of a class of similarly situated   Hon. James D. Peterson
individuals,

               Plaintiffs,

                        v.

MENARD, INC., a Delaware [sic] corporation,
and JOHN DOES 1-10,

               Defendants.


         MENARD INC.’S MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

       Pursuant to Fed.R.Civ.P. 12(b)(6) and 9(b), Defendant Menard, Inc.1 respectfully moves

this Court for an order dismissing Plaintiffs’ claims in their entirety, with prejudice, and in

support of this motion relies upon its Memorandum of Law, submitted herewith.

Dated: April 13, 2020                               Respectfully submitted,

                                                    /s/ Brian P. Norton
                                                    Brian P. Norton
                                                    James J. Boland
                                                    Andrew C. Nordahl
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1
 The Complaint erroneously alleges that Menard, Inc. is a Delaware corporation. (Compl. ¶ 25.)
Menard, Inc. is a Wisconsin corporation.
